AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:24-cv-01455 KKE

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) Masterbucks, ELG
was received by me on (date) 09/20/2024

C1 I personally served the summons on the individual at (place)

on (date) ; or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,
on (date) , and mailed a copy to the individual’s last known address; or

Of 1 served the summons on (name of individual)

Holly Renolds, registered agent clerk oe , who is
designated by law to accept service of process on behalf of (name of organization) Northwest Registered Agent
Service Inc 30 N Gould Ste Ste N Sheridan, WY 82801 _—_—On (dare) _ 09/23/2024 =; or
©) I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

9

Date: 10/17/2024 NAF

Server's signature

Dustin Looper, process server _
Printed name and title

101 E Loucks St, Unit 6384
Sheridan, WY 82801

Server ’s address

Additional inft tion regarding att t ice, etc: . . :
Additions documents served: Cémplait te ury Demand: Exhibit 1 through 13; Standing Order Regarding 28USC 455(b)
(2 and Cannon 3(c)(1)(B) of the code of conduct for united states judge

Ss
9-23-2024 @ 11:15am

An individual identified as Holly Renolds, clerk for Northwest Registered Agent Service., accepted the service packet
after reviewing the agents records and stated that she could accept. Service occurred at 30 N Gould St, Ste N,
Sheridan, WY 82801. (w, f, 5'4", 140lbs, brown hair)
